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                   EXHIBIT C
                      Case 2:22-cv-00323-RGK-JEM Document 6-3 Filed 01/18/22 Page 2 of 10 Page ID #:40
Electronically FILED by Superior Court of California, County of Los Angeles on 01/14/2022 11:08 AM Sherri R. Carter, Executive Officer/Clerk of Court, by J. So,Deputy Clerk




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                            CAMPUSEAI, INC.
                         11

                         12                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         13                                   COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                         14

                         15 MELISSA ROBERTSON, an individual,                                              Case No. 21STCV37867

                         16                         Plaintiff,                                             DEFENDANTS UNIFYED, LLC AND
                                                                                                           CAMPUSEAI, INC.’S ANSWER TO
                         17              vs.                                                               PLAINTIFF’S COMPLAINT

                         18 UNIFYED, LLC, an Illinois limited liability                                    Assigned for All Purposes to:
                            company; CAMPUSEAI, INC., an Ohio                                              Hon. Daniel S. Murphy, Dept. 32
                         19 Corporation; and DOES 1-10 inclusive,
                                                                                                           Action Filed:                      10/13/2021
                         20                         Defendants.                                            Trial Date:                        None Set

                         21

                         22             Defendants UNIFYED, LLC and CAMPUSEAI, INC. (“Defendants”) answer Plaintiff

                         23 MELISSA ROBERTSON’s (“Plaintiff”) Complaint herein, as follows:

                         24                                                             GENERAL DENIAL

                         25             1.          Under the provisions of section 431.30 of the California Code of Civil Procedure,

                         26 Defendants deny each, every, and all of the allegations of the Complaint, and the whole thereof, and

                         27 denies that Plaintiff has sustained damages in the sums alleged, or in any other sum, or at all.

                         28             2.          Further answering Plaintiff’s Complaint, and the whole thereof, Defendants deny
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                       1 that Plaintiff has sustained any injury, damage, or loss, if any, by reason of any act, omission or

                       2 negligence on the part of Defendants or their agents or employees.

                       3                                DEFENDANTS’ AFFIRMATIVE DEFENSES

                       4                                       FIRST AFFIRMATIVE DEFENSE

                       5                                       (Failure to State a Cause of Action)

                       6            3.        The Complaint and each cause of action therein fails to state facts sufficient to

                       7 constitute a cause of action against Defendants.

                       8                                     SECOND AFFIRMATIVE DEFENSE

                       9                                               (Failure to Mitigate)
                      10            4.        Plaintiff has failed to mitigate her damages, if any.
                      11                                      THIRD AFFIRMATIVE DEFENSE
                      12                                            (Avoidable Consequences)

                      13            5.        Plaintiff’s Complaint is barred in whole or in part by the doctrine of avoidable

                      14 consequences.

                      15                                     FOURTH AFFIRMATIVE DEFENSE

                      16                                            (Procedural Due Process)

                      17            6.        Plaintiff’s claim for punitive damages is unconstitutional pursuant to the due process

                      18 clauses of the United States and California Constitutions.

                      19                                      FIFTH AFFIRMATIVE DEFENSE

                      20                                              (No Punitive Damages)

                      21            7.        The Complaint and each purported cause of action alleged therein against

                      22 Defendants fail to allege facts sufficient to allow recovery of punitive or exemplary damages.

                      23                                      SIXTH AFFIRMATIVE DEFENSE

                      24                                       (Barred By Statutes of Limitations)

                      25            8.        Plaintiff’s claims are barred in whole or in part to the extent the events complained

                      26 of took place more than (1) year prior to the filing of Plaintiff’s Complaint in this action pursuant

                      27 to California Code of Civil Procedure Section 340 and/or more than one (1) year, two (2) years,

                      28 three (3) years, or four (4) years prior to the filing of the Complaint pursuant to California Code of
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                       1 Civil Procedure Sections 335.1, 337, 338, 339, 340, 342, 343; California Government Code

                       2 sections 12960(d) and 12965(b).

                       3                                    SEVENTH AFFIRMATIVE DEFENSE

                       4                                        (Reasonableness and Good Faith)

                       5            9.        Plaintiff’s claims are barred in whole or part, because the alleged conduct of which

                       6 Plaintiff complains, if committed, was made in good faith, honestly, without malice, in the

                       7 exercise of business judgment for legitimate, non-discriminatory and non-retaliatory reasons.

                       8                                     EIGHTH AFFIRMATIVE DEFENSE

                       9                                            (After-Acquired Evidence)
                      10            10.       Plaintiff’s Complaint is barred by the doctrine of after acquired evidence.
                      11                                      NINTH AFFIRMATIVE DEFENSE
                      12                                 (Failure to Exhaust Administrative Remedies)

                      13            11.       Plaintiff has failed to exhaust administrative remedies, including those required by

                      14 state statute, and/or internal grievances processes and is therefore barred from maintaining any or

                      15 all causes of action.

                      16                                      TENTH AFFIRMATIVE DEFENSE

                      17                                                 (Unclean Hands)

                      18            12.       Plaintiff’s Complaint is barred, in its entirety, by the doctrine of unclean hands.

                      19                                   ELEVENTH AFFIRMATIVE DEFENSE

                      20                                                      (Waiver)

                      21            13.       Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

                      22                                     TWELTH AFFIRMATIVE DEFENSE

                      23                                                     (Estoppel)

                      24            14.       Plaintiff is estopped by her own conduct from asserting any and all claims she may

                      25 have had against Defendants arising from the transactions and occurrences set forth in Plaintiff’s

                      26 Complaint.

                      27 / / /

                      28 / / /
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                       1                                  THIRTEENTH AFFIRMATIVE DEFENSE

                       2                                                      (Laches)

                       3            15.       Plaintiff’s Complaint is barred by the equitable doctrine of laches.

                       4                                 FOURTEENTH AFFIRMATIVE DEFENSE

                       5                                                     (Consent)

                       6            16.       Defendants allege that Plaintiff, at all relevant times, gave her consent, express or

                       7 implied, to the alleged acts, omissions and conduct of Defendants.

                       8                                   FIFTEENTH AFFIRMATIVE DEFENSE

                       9                                              (At-will Employment)
                      10            17.       Plaintiff was an at-will employee.

                      11                                   SIXTEENTH AFFIRMATIVE DEFENSE

                      12       (Maintenance of Anti-Discrimination, Anti-Retaliation, and Anti-Harassment Policies)

                      13            18.       Defendants allege that they maintained and enforced a strict anti-retaliation policy

                      14 during the time in which Plaintiff alleges retaliation.

                      15                                 SEVENTEENTH AFFIRMATIVE DEFENSE

                      16                                              (No Proximate Cause)

                      17            19.       Any act or omission to act by Defendants was not the proximate cause of any injury

                      18 or damages suffered by Plaintiff.

                      19                                  EIGHTEENTH AFFIRMATIVE DEFENSE

                      20                                              (Third Party Liability)

                      21            20.       Should it be found that Defendants are liable in any matter for any damages stated

                      22 by Plaintiff, which Defendants deny, Defendants allege that such damages were proximately

                      23 caused and/or contributed to by parties other than Defendants, whether served or not served in this

                      24 case, and/or by other persons or entities not presently parties to this action. It is necessary that the

                      25 proportionate degree of negligence, fault, and/or legal responsibility of each and every person or

                      26 entity be determined and prorated and that any judgment that may be rendered against Defendants

                      27 be reduced not only by the degree of negligence, fault or other legal responsibility attributable to

                      28 Plaintiff, but by the total of that degree of negligence, fault and/or other legal responsibility found
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                       1 to exist as to other person(s) and/or entities as well.

                       2                                 NINETEENTH AFFIRMATIVE DEFENSE

                       3                                        (No Malice, Fraud, Oppression)

                       4            21.       Defendants are informed and believe and thereon allege that their actions were not

                       5 willful, malicious, fraudulent, oppressive, intentional, or tortious and Plaintiff’s claims are not

                       6 authorized pursuant to Civil Code Section 3294.

                       7                                  TWENTIETH AFFIRMATIVE DEFENSE

                       8                                                (Frivolous Claims)

                       9            22.       Plaintiff’s Complaint against Defendants lacks foundation and is unreasonable; thus
                      10 Defendants are entitled to recover attorneys' fees and costs expended in defending this action

                      11 pursuant to the applicable law including Government Code Section 12965(b) and Code of Civil

                      12 Procedure Section 128.7.

                      13                                TWENTY-FIRST AFFIRMATIVE DEFENSE

                      14                                             (Managerial Immunity)

                      15            23.       Any and all conduct of which Plaintiff complains and which is attributed to

                      16 Defendants or their agents or employees was a just and proper exercise of management’s

                      17 discretion on the part of Defendants, their agents, or employees, and was undertaken for a fair and

                      18 honest reason and regulated by good faith and probable cause under the circumstances existing at

                      19 all times mentioned in the Complaint and Defendant is, therefore, immune from any liability.

                      20                              TWENTY-SECOND AFFIRMATIVE DEFENSE

                      21                                   (Plaintiff Did Not Sustain Any Damages)

                      22            24.       Plaintiff’s claim for pre-judgment interest is barred because Plaintiff sustained no

                      23 damages.

                      24                               TWENTY-THIRD AFFIRMATIVE DEFENSE

                      25                                                (Attorneys’ Fees)

                      26            25.       Plaintiff’s Complaint fails to allege facts sufficient to establish a claim for

                      27 attorneys’ fees.

                      28 / / /
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                       1                              TWENTY-FOURTH AFFIRMATIVE DEFENSE

                       2                                  (No Severe or Serious Emotional Distress)

                       3            26.        To the extent Plaintiff alleges Defendants are responsible for intentional infliction

                       4 of emotional distress and/or other intentional conduct, which allegations are denied, Plaintiff did

                       5 not suffer from severe or serious emotional distress by any action and/or inaction by Defendants

                       6 and/or Defendants’ conduct was not a substantial factor in causing Plaintiff to suffer from severe

                       7 or serious emotional distress.

                       8                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

                       9                                             (Business Justification)
                      10            27.       Defendants’ activities undertaken with respect to Plaintiff, if any, were justified as
                      11 such activities were proper, fair, and legitimate business activities and/or due to business-related

                      12 reasons which were neither arbitrary, capricious, nor unlawful.

                      13                               TWENTY-SIXTH AFFIRMATIVE DEFENSE

                      14                                                 (Mixed-Motive)

                      15            28.       At the time of Plaintiff’s alleged wrongful termination by Defendants (which

                      16 Defendants deny), there existed a legitimate reason to terminate Plaintiff which, standing alone,

                      17 would have induced Defendants to make the same decision to terminate Plaintiff ’s employment.

                      18 Therefore, Plaintiff is precluded from recovery of reinstatement, back pay or damages because of

                      19 the mixed motive doctrine. (Harris v. City of Santa Monica (2013) 56 Cal.4th 203, 231.)

                      20                             TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                      21                                           (Workers’ Compensation)

                      22            29.       Plaintiff is barred from seeking any damages for purported physical, mental or

                      23 emotional injuries allegedly suffered as a result of her employment in that the sole and exclusive

                      24 remedy in the respect is and was governed by the California Workers’ Compensation Act,

                      25 California Labor Code sections 3200-4627.

                      26                              TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                      27                                                (Lack of Pretext)

                      28            30.       Defendants allege that Plaintiff cannot establish that Defendants’ articulated reason
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                       1 for Plaintiff’s separation from employment was a pretext for unlawful discrimination, harassment,

                       2 retaliation, and/or violation of public policy.

                       3                               TWENTY-NINTH AFFIRMATIVE DEFENSE

                       4                                          (No Wrongful Termination)

                       5            31.       Defendants are informed and believes and thereon alleges that Plaintiff’s purported

                       6 causes of action for retaliation and wrongful termination fail as Plaintiff cannot establish a prima

                       7 facie case of wrongful termination.

                       8                              THIRTIETH AFFIRMATIVE DEFENSE

                       9                                       (No Adverse Employment Action)
                      10            32.       Plaintiff’s causes of action are barred in that Plaintiff suffered no adverse
                      11 employment action during Plaintiff’s employment.

                      12                                THIRTY-FIRST AFFIRMATIVE DEFENSE

                      13                                              (Unknown Defenses)

                      14            33.       Defendants hereby gives notice that they intends to rely upon such other and further

                      15 affirmative defenses as may become available during discovery in this action, and reserve the right

                      16 to amend their Answer to assert any such defenses as discovery continues.

                      17            WHEREFORE, Defendants UNIFYED, LLC and CAMPUSEAI, INC., respectfully pray

                      18 for judgment as follows:

                      19            1.        That Plaintiff is awarded nothing in this action, and the action is dismissed with

                      20 prejudice;

                      21            2.        That judgment is entered in favor of Defendants UNIFYED, LLC and

                      22 CAMPUSEAI, INC.;

                      23            3.        That Defendants UNIFYED, LLC and CAMPUSEAI, INC. are awarded costs of

                      24                      this suit; and

                      25 / / /

                      26 / / /

                      27 / / /

                      28 / / /
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                       1            4.        That the Court orders such other and further relief as the Court may deem just and

                       2 proper.

                       3

                       4 DATED: January 14, 2022                         RACHEL J. LEE
                                                                         MADONNA L. DEVLING
                       5                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                       6

                       7
                                                                         By:
                       8                                                       MADONNA L. DEVLING
                                                                               Attorneys for Defendants, UNIFYED, LLC and
                       9                                                       CAMPUSEAI, INC.
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                    1                       CALIFORNIA STATE COURT PROOF OF SERVICE
                                                  Melissa Robertson v. Unifyed, LLC, et al.
                    2                                     Case No. 21STCV37867

                    3 STATE OF CALIFORNIA, COUNTY OF ORANGE

                    4          At the time of service, I was over 18 years of age and not a party to this action. My
                        business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                    5
                           On January 14, 2022, I served true copies of the following document(s): DEFENDANTS
                    6 UNIFYED, LLC AND CAMPUSEAI, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT

                    7         I served the documents on the following persons at the following addresses (including fax
                        numbers and e-mail addresses, if applicable):
                    8
                      Matthew B. Perez, Esq.                              Attorneys for Plaintiff, MELISSA
                    9 Devon M. Lyon, Esq.                                 ROBERTSON
                      Lyon Legal, P.C.
                   10 2698 Junipero Ave., Suite 201A                      T: (562) 216-7382
                      Signal Hill, CA 90755                               F: (562) 216-7385
                   11
                                                                          m.perez@lyon-legal.com
                   12                                                     d.lyon@lyon-legal.com

                   13            The documents were served by the following means:
                   14           (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package addressed to
                                 the persons at the addresses listed above and:
                   15
                                     Placed the envelope or package for collection and mailing, following our ordinary
                   16 business practices. I am readily familiar with the firm’s practice for collection and processing
                      correspondence for mailing. Under that practice, on the same day that correspondence is placed
                   17 for collection and mailing, it is deposited in the ordinary course of business with the U.S. Postal
                      Service, in a sealed envelope or package with the postage fully prepaid.
                   18
                             (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                   19         agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                              documents to be sent from e-mail address danielle.morgan@lewisbrisbois.com to the
                   20         persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                              after the transmission, any electronic message or other indication that the transmission was
                   21         unsuccessful.
                   22          I declare under penalty of perjury under the laws of the State of California that the
                        foregoing is true and correct.
                   23
                                 Executed on January 14, 2022, at Costa Mesa, California.
                   24

                   25

                   26                                                     Danielle Morgan
                   27

                   28
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